Case 1:14-ml-02570-RLY-TAB Document 12291-1 Filed 10/29/19 Page 1 of 4 PageID #:
                                   90583


                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION
 ___________________________________________

 IN RE COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                 Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                  MDL No. 2570
 ___________________________________________


           EXHIBIT A TO MOTION TO DISMISS DUPLICATIVE FILINGS
                           Case 1:14-ml-02570-RLY-TAB Document 12291-1 Filed 10/29/19 Page 2 of 4 PageID #:
                                                              90584


                                                                     Exhibit A - Cook Filter - Duplicate Filing
                                                                     Complaint No. 1                                                                             Complaint No. 2
Case Name                         Filing Date   Cause Number    Federal/State   Jurisdiction        Plaintiff Counsel          Filing Date   Duplicate Cause Federal/State   Jurisdiction        Plaintiff Counsel
                                                                                                                                             Number
Benhart, David                    4/19/2017     1:17-cv-01226   Federal         Southern District   Amanda Washington          7/1/2019      1:19-cv-02692 Federal           Southern District   Gregory McEwen
                                                                                of IN                                                                                        of IN
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                                                                                                    com

Harrison, Darlene Miller          8/5/2019      1:19-cv-03297   Federal         Southern District   John Dalimonte             8/27/2019     1:19-cv-03645   Federal         Southern District Ben Martin
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Jenkins, Susan                    5/4/2016      1:16-cv-01068   Federal         Southern District   Joseph A. Osborne          6/27/2019     1:19-cv-02614   Federal         Southern District   Jeff Seldomridge
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Katrausky, Patricia [ESTATE OF]   10/30/2017    1:17-cv-03968   Federal         Southern District   Andrew Kirkendall          9/4/2019      1:19-cv-03755   Federal         Southern District David C. Degreef
                                                                                of IN                                                                                        of IN
                                                                                                    F.KIRKENDALL DWYER LLP                                                                     Wagstaff & Cartmell,
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                         Case 1:14-ml-02570-RLY-TAB Document 12291-1 Filed 10/29/19 Page 3 of 4 PageID #:
                                                            90585


                                                               Exhibit A - Cook Filter - Duplicate Filing
                                                               Complaint No. 1                                                                           Complaint No. 2
Case Name                   Filing Date   Cause Number    Federal/State   Jurisdiction        Plaintiff Counsel        Filing Date  Duplicate Cause Federal/State   Jurisdiction        Plaintiff Counsel
                                                                                                                                    Number
Keller, Douglas M. Jr.         5/10/2019 1:19-cv-01900    Federal         Southern District   Gregory Bentley Joseph      6/27/2019 1:19-cv-02623 Federal           Southern District   Ben Martin
                                                                          of IN               Zonies                                                                of IN
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Meddock, Teresa             8/16/2018     1:18-cv-02519   Federal         Southern District   Basil Adham              7/15/2019     1:19-cv-02893   Federal        Southern District   Laci Whitley
                                                                          of IN                                                                                     of IN
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Muff, Leonard               5/9/2019      1:19-cv-01881   Federal         Southern District   David Matthews           7/3/2019      1:19-cv-02728   Federal        Southern District   Charles Johnson
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                                                                                              ASSOCIATES                                                                                CHARLES JOHNSON

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Myers, Gregory Gene         12/28/2017    1:17-cv-04754   Federal         Southern District   Matthew Lopez            8/1/2019      1:19-cv-03228   Federal        Southern District   Scott Seideman
                                                                          of IN                                                                                     of IN
                                                                                              Lopez McHugh                                                                              The Seideman Law
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Royce, Mathew               1/8/2018      1:18-cv-00068   Federal         Southern District   Debra J. Humphrey        9/14/2019     1:19-cv-03918   Federal        Southern District Matthew R. McCarley
                                                                          of IN                                                                                     of IN
                                                                                              MARC J. BERN &                                                                          FEARS NACHAWATI,
                                                                                              PARTNERS, LLP                                                                           PLLC

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                     Case 1:14-ml-02570-RLY-TAB Document 12291-1 Filed 10/29/19 Page 4 of 4 PageID #:
                                                        90586


                                                           Exhibit A - Cook Filter - Duplicate Filing
                                                           Complaint No. 1                                                                           Complaint No. 2
Case Name               Filing Date   Cause Number    Federal/State   Jurisdiction        Plaintiff Counsel        Filing Date   Duplicate Cause Federal/State   Jurisdiction        Plaintiff Counsel
                                                                                                                                 Number
Ryan, John              9/27/2018     1:18-cv-02982   Federal         Southern District   Basil Adham              7/9/2019      1:19-cv-02825 Federal           Southern District   John Dalimonte
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Seibert, Christine      8/13/2018     1:18-cv-02486   Federal         Southern District   Basil Adham              9/5/2019      1:19-cv-03792   Federal         Southern District Brandon L. Rich
                                                                      of IN                                                                                      of IN
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Sims, Palmer Sr.        3/20/2018     1:18-cv-06091   Federal         Southern District   E. Samuel Geislerv       6/24/2019     1:19-cv-02541   Federal         Southern District Charles H. Johnson
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                                                                                          AYLSTOCK WITKIN KREIS                                                                    LAW OFFICES OF
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